AO 450 (Rev. 5/85) Judgment in a Civil Case r




                                           United States District Court
                                                WESTERN DISTRICT OF WASHINGTON



            ADAN JOE NIETO
                                                                       JUDGMENT IN A CIVIL CASE
                                     v.

            JEFFREY UTTECHT
                                                                       CASE NUMBER: C09-5250RBL/KLS


            Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
            the jury has rendered its verdict.

XX          Decision by Court. This action came to trial or hearing before the Court. The issues have been
            tried or heard and a decision has been rendered.
   IT IS ORDERED AND ADJUDGED


            The Court adopts the Report and Recommendation; and

            Petitioner’s writ of habeas corpus (Dkts. 4 and 10) is DENIED and this action is DISMISSED WITH
            PREJUDICE.




  October 27, 2009                                                   BRUCE RIFKIN
Date                                                             Clerk


                                                                    s/CM Gonzalez
                                                                 Deputy Clerk
